Case 1:17-cv-OO755-LI\/|B-|DD Document 23 Filed 09/25/17 Page 1 of 2 Page|D# 135

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
ECOLOGY MIR GROUP, LLC,
Plaintiff,
v. Civil Action No. y 1 : l 7-CV-00755-LMB-IDD
JOSEPH J. HANSON,
and

BLACKCREST ASSOCIATES, LLC,

Defendants.

STIPULATION ()F DISMISSAL WITH PREJUDICE

lt is hereby stipulated and agreed among Plaintiff, Eeology Mir Group, LLC, and
Defendants, Joseph J. Hanson and Blackcrest Associates, LLC, that pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), this action and all claims alleged herein are DISMISSED WITH

 

 

PREJUDICE.

Respectfully submitted,
/s/ Andrew S. Baugher /s/ Nathan D. Banev
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Counselfor Plaz'm‘z']j€

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CERTIFICATE OF SERVICE

l hereby certify that on Septernber 25, 2017, l electronically filed the foregoing With the

Clerl< of Court using the CM/ECF system, Which Will then send a notification of such filing
(NEF) to the following:

Nathan D, Baney, Esq.
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Counsel for Defendants

/s/ Andrew S. Baugher
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